Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 1 of 25 PageID 113




                     IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

UNITED STATES OF AMERICA                        Case No. 8:21:cr-00269-WFJ-AEP


vs.


RALPH PUGLISI,
________________________________________/

  DEFENDANT’S SENTENCING MEMORANDUM AND MOTION FOR
                 DOWNWARD VARIANCE

           COMES NOW, the Defendant, Ralph Puglisi, by and through his

undersigned attorney and submits this sentencing memorandum to assist the

Court in resolving certain sentencing issues and in imposing a sentence. The

sentencing request contained herein calls for the imposition of a sentence which

is no greater than necessary and is sufficient to achieve the purposes enumerated

18 U.S.C § 3553 (a). Ralph Puglisi’s individual characteristics, background,

cooperation, health, payment of restitution, and need for future restitution

indicate that the sentence suggested by the Guidelines would be greater than

necessary to accomplish the goals of §3553 (a). As such, as provided herein, a

downward variance is warranted. 18 U.S.C. § 3553(a). As grounds in support of

this Motion for Downward Variance, Ralph Puglisi shows as follows:

      I.     Procedural Background

      On August 11, 2021, the Government filed a one-count Information in the

Middle District of Florida charging Mr. Puglisi with one count of Mail Fraud in

                                          1
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 2 of 25 PageID 114




violation of 18 U.S.C.§ 1341. On August 26, 2021, pursuant to a plea agreement,

Puglisi entered a guilty plea to the one count Information. Following his guilty

plea, Mr. Puglisi was equipped with a monitor and released on home

confinement. Puglisi has fully complied with all conditions of his release without

any violations in the 13 months that he has been on home detention.

   II.      Guideline Range and Motion for Downward Variance

         Pursuant to the plea agreement, Ralph Puglisi is subject to a maximum

sentence of 20 years of imprisonment and a fine of $250,000, or twice the gross

gain or loss depending on which is greater. Mr. Puglisi is eligible for not more

than 3 years of supervision and a special assessment of $100 per felony count.

The Presentence Investigation Report (“PSIR”) assesses Puglisi at a base level

offense of 7 with an increase of 20 levels based on the specific offense

characteristics, resulting in an adjusted offense level of 27. The Defendant

received two additional 2 level upward adjustments for his role in the offense

(leader/organizer and abuse of position of public trust) giving him a total

adjusted offense level of 31 (PSIR ¶ 35). After the respective two and one level

reductions for Acceptance of Responsibility, Puglisi’s total offense level is 28 in

the criminal history category of I, resulting in a guideline imprisonment range of

78 months to 97 months (PSIR ¶ 77).

         Ralph Puglisi requests this Honorable Court to grant his Motion for a

Downward Variance. Specifically, Puglisi requests a downward variance to Zone

C which would allow for Mr. Puglisi to receive a sentence of incarceration

                                          2
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 3 of 25 PageID 115




followed by a term of home confinement (with the condition that he continue in

mental health treatment, to pay restitution, and cooperate with the Government

and Victim). The requested sentence is sufficient but not greater than necessary

to accomplish the goals of sentencing.

   III.   Analysis of Relevant 18 U.S.C. §3553 (a) Factors

      A. The Nature of the Offense and the Characteristics of the

          Defendant § 3553 (a)(1):

      This Court is given broad command to consider the nature and

circumstances of the offense and the history and characteristics of the defendant

when determining a reasonable sentence. Gall v. United States, 552 U.S. 38

(2007). In as much, the "punishment should fit the offender and not merely the

crime". Pepper v. United States, 131 S.Ct. 1229, 1240 (2011). Although Ralph

Puglisi committed a serious offense, there are many mitigating factors that

warrant a variance and/or departure from the Guidelines.

          1. Nature and circumstances of the offense

      The University Medical Services Association (UMSA) is a “non-profit”

corporation that assists USF health in billing, collection, and disbursement of

funds generated by the medical practice of the USF medical faculty. UMSA is

responsible for handing the finances and funds generated by the medical practice

of the USF medical facilities. UMSA has the authority to make expenditures to

and for the benefit of USF. Although UMSA is a standalone organization



                                         3
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 4 of 25 PageID 116




structurally with independent financial operations, its financial results are

consolidated with those of USF.

      In 2006, Ralph Puglisi began his employment with UMSA in the

accounting and finance department, eventually being promoted to the role of

Accounting Manager. As Accounting Manager, Puglisi was given possession and

authorization to use UMSA credit cards for business related expenditures with

little to no oversight. In 2014, Puglisi began utilizing corporate credit cards issued

by SunTrust Bank in the name of UMSA outside the scope of UMSA business.

Puglisi, who admits to using the credit cards to make unauthorized charges,

would create fake journal entries creating the illusion that the charges were

related to legitimate UMSA business. Unauthorized charges were made to the

UMSA cards included charges for airline tickets, travel and lodging, gifts, home

renovations, rental payments, weddings, and contributions to women on an adult

website. In total, Puglisi charged approximately $12,800,000 for his personal

benefit and the benefit of others. Ralph Puglisi admits to utilizing the UMSA

cards for his personal benefit and the benefit of his family. He understands that

he was the “gatekeeper” of the UMSA credit cards and acknowledges that but for

his conduct the cards would not have been used for unlawful and unauthorized

purchases.

      Around the time that he engaged in the conduct that resulted in this

offense, Puglisi met and began his relationship with Donna McCoy (Puglisi).

McCoy, who had three children from a previous marriage, relied on Puglisi to be

                                          4
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 5 of 25 PageID 117




the primary source of income for the home. Puglisi believed that in order to keep

Donna happy, he would have to provide her with a luxurious lifestyle. So, in

addition to using the UMSA credit card for his own personal expenditures, he

also used the cards for home furnishing, trips, and gifts for her and her family. In

2018, Donna McCoy as a registered agent, opened Tropical Familia Investment

(TFI) - a company that specialized in real estate in the Caribbean. Feeling

compelled to help McCoy achieve her dream job of working in International Real

Estate, Puglisi and McCoy set up bank accounts, purchased land, and paid

salaries and expenses for TFI by use of the UMSA credit cards.

      Although Donna appeared to be happy with her lifestyle and her new

business, she and Ralph had many issues in their relationship. Despite living

together, they lacked the romance, intimacy, and companionship. Due to the

intimacy issues, the lack of attention he was receiving in the home, and the

deterioration of his physical and mental health, Puglisi turned to the internet for

sexual gratification and companionship. With the need for personal attention, he

engaged in online relationships with web cam performers who would not only

perform for him but would also act as a pseudo virtual girlfriend communicating

and interacting with him directly. The internet webcam platform utilized by

Puglisi was “MyGirlFund.com” (MGF).

      MGF is an adult content provider that contracts with “webcam” performers

who engage in explicit, virtual one-on-one contact with members of the website

community. Members can “tip” the webcam performers for their service with the

                                         5
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 6 of 25 PageID 118




woman receiving a portion of the tip. MGF also provides a platform for the

webcam models to directly communicate with their patrons allowing them to

engage in a more intimate relationship to drive up the “tips”. As compensation,

the webcam models received 65%-90% of the “tips”. As the service provider, MGF

receives 10%-35% off the top of all “tips” given to the performer. see

http://www.camgirlwiki.com. Most of Ralph Puglisi’s transactions were to MGF,

with MGF accumulating millions of dollars in fees from the tips.

      Stephanie Sahler, a Canadian citizen, was an MGF webcam performer who

was involved in a relationship with Puglisi. In addition to performing private

webcam shows for him, Sahler used the MGF platform and her personal devices

to directly message and communicate with Puglisi. As their relationship

progressed offline, Sahler manipulated Puglisi, who she knew had physical and

mental health illness, into believing that if he supported her family by “tipping”

her outrageous amounts of money that they would eventually be together in the

“real world”. Sahler told Puglisi about her “rough life”, her family’s illnesses, her

alleged poverty, and her young daughter who she supported as a single mother.

Sahler convinced Puglisi that she was in love with him, leading him to believe

that they were in an actual relationship. She preyed on and manipulated Puglisi

into believing that by paying her millions, she would eventually get out of the

“adult industry” and start a better life with him and her family.

      In total, Puglisi paid Sahler approximately $6,000,000. In addition to

receiving cash compensation from MGF which she placed in investment

                                          6
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 7 of 25 PageID 119




accounts, Sahler utilized the UMSA Credit Card for gifts, vacations, travel, and

cancer treatment for one of her family members. During their relationship,

Puglisi told Sahler about the source of the money she received, specifically that

she was being paid with UMSA credit cards. In cooperation with the Government,

Puglisi attempted to recover USF’s money from Sahler, after he told her that he

was subject to a Federal Investigation. Despite knowing of the source of the

millions of dollars in payments she received, this case, and the pending civil

litigation, Sahler refused to pay back USF. In complete defiance, Sahler indicated

that “since she was a Canadian citizen there was nothing the United States could

do to her”.

      In 2018, Ralph Puglisi was approached by his then son-in-law and his

fiancé Francesca Roman about how they could profit from his activity. According

to Puglisi, Roman and her fiancé were aware that the money he had was obtained

through ill-begotten means. Knowing that the money was “dirty”, they inquired

as to how they could profit from assisting Puglisi in “moving money”. Puglisi and

Roman agreed that she would sign up to be a webcam performer on MGF.

Through their scheme Puglisi would tip Roman utilizing the UMSA credit cards,

with Puglisi keeping 60% of the money she received and Roman keeping 40%

(after MGF took their portion). Roman would then utilize the United States

Postal Service to deliver checks to Puglisi (including a check in the amount of

$18,953.28) as payment for his 60%. In total, Roman personally received in

excess of $1,300,000 through the arrangement.

                                         7
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 8 of 25 PageID 120




      In December of 2020, UMSA terminated Puglisi’s employment. A short

time later, Puglisi was advised of the investigation. Rather than contesting any of

the allegations against him, Puglisi immediately admitted guilt, agreed to

cooperate, and asked to be able to pay back USF. Puglisi has cooperated, paid

restitution, and accepts full responsibility for his actions. Although his fraud was

extensive, Puglisi’s criminal conduct was out of character. According to Dr.

McClain, his mental health issues and cognitive deficits impacted his behavioral

regulation, planning, and anticipating consequences. This most likely affected his

ability to regulate his behavior resulting in the present offense. (PSIR ¶ 64).

         2. Acceptance of responsibility, payment of restitution and cooperation

             with criminal and civil investigations

                a. Acceptance of Responsibility

      In January of 2021, Ralph Puglisi learned that he was the target of a

Federal Investigation regarding his personal use of the UMSA credit cards. Upon

being notified of this investigation, Puglisi immediately accepted responsibility

and agreed to cooperate with the Government. In meeting with the Government,

Puglisi provided cooperation, expressed great remorse for his conduct, and

expressed his desire to accept responsibility by pleading guilty to an Information.

Upon pleading guilty to the Information, Puglisi admitted to engaging in the

criminal conduct as outlined in the plea agreement. Puglisi has continually

described how he is remorseful for committing the offense. He is sorry that his

actions negatively affected his family, caused financial loss to USF, and violated

                                          8
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 9 of 25 PageID 121




the law. Puglisi has learned from this situation, made substantial person changes,

vows to pay restitution, and will never be engaged in criminal conduct again.

                b. Cooperation with the Government and USF

      Prior to entering his plea, Ralph Puglisi met with Agents in an effort to

provide substantial assistance and cooperation. Through a series of proffers,

Puglisi provided detailed information related to the commission of the offense,

the location of money, and the identity other individuals involved in the criminal

activity. He has agreed to do and has done everything that the Government

requested of him including pleading guilty, providing testimony, physical

evidence, electronic evidence, and paying restitution. Through the pendency of

the case, Puglisi has remained in close contact with the Government with the

offer to provide assistance in any manner or capacity requested. Although the

Government has determined that at this time Puglisi’s cooperation does not

justify a recommendation for a departure pursuant to 5K1.1, his cooperation

should be taken into consideration when fashioning an appropriate sentence.

      In addition to cooperating with the Government, Puglisi has taken the

extraordinary step to cooperate directly with attorneys representing the

University in civil litigation and investigation related to this offense. Through this

cooperation, Puglisi agreed to a civil default thereby relieving USF of the

litigation directly related to him. In addition to not contesting the civil action,

Puglisi has served as a witness and a source of information to the Attorney’s

representing USF. Puglisi’s cooperation with USF resulted in the University

                                           9
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 10 of 25 PageID 122




 amending their civil complaint to include additional facts and named defendants,

 who without Puglisi’s cooperation would have remained unknown. According to

 the Attorney’s for USF, who are extremely pleased with his cooperation, he has

 been an asset who has provided extraordinary cooperation in the civil litigation.

                 c. Payment of Restitution

       Upon accepting responsibility, Ralph Puglisi expressed his desire to pay

 restitution. To achieve this, Puglisi depleted all his bank accounts, sold his home,

 sold his vehicle, sold his memorabilia, and liquidated his retirement/investment

 accounts. On June 29, 2021, Puglisi signed a “Stipulation Regarding Restitution”

 in which he formally agreed to the liquidation of assets. (Exhibit A). On August

 30, 2021, a Motion and Order to Deposit Pre-Judgment funds was granted and

 entered. (DKT 19). On August 31, 2021, Ralph Puglisi made a payment in the

 amount of $1,212,626.29 to the Clerk of the US District Court as a payment

 toward restitution. (DKT 21) (Exhibit B). On September 9, 2022, Ralph Puglisi

 signed a stipulation authorizing the US Marshall to liquidate the property

 located in the Virgin Islands for restitution. (Exhibit C). Finally, on

 September 19, 2022, Ralph Puglisi made an additional payment of $20,000

 toward restitution. (Exhibit D).

          3. History and characteristics of the Defendant

       Ralph Puglisi was born in Brooklyn, New York in 1962. His mother worked

 on an assembly line and his father was a truck driver. One of two siblings, Ralph

 Puglisi was raised in a dysfunctional household in which he, his mother, and

                                          10
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 11 of 25 PageID 123




 brother were abused physically and mentally by his alcoholic father. (PSIR ¶ 49).

 Unlike many traditional homes, Puglisi did not receive support or guidance from

 his father. His mother, who worked to support the family, was essentially his sole

 caregiver. Puglisi maintains a close relationship with his mother and is her

 primary caregiver; however, he has not had contact with his father for over 26

 years, who his mother divorced after Puglisi graduated high school. (PSIR ¶ 50).

 During his childhood, Puglisi and his brother were forced to fend for themselves

 and care for their home. Based in part to him witnessing and being the victim of

 domestic abuse, Puglisi developed childhood mental illness. This illness resulted

 in Puglisi having severe anxiety and depression. During high school, Puglisi

 became an accomplished, varsity athlete playing football, baseball, and

 basketball. Despite the troubles within the home and mental illness, Puglisi had

 no disciplinary issues and excelled both academically and athletically.

       As a three-sport high school athlete with good grades, Puglisi moved to

 Jacksonville, Florida to attend college at Jacksonville University with a focus in

 accounting. He eventually withdrew from JU his sophomore year, moving to

 Spring Hill, Florida, where he continued taking accounting classes at the college

 level while gainfully employed. While in Florida, he met his first wife whom he

 had two children with. The couple eventually relocated to New Jersey, where they

 raised their children together until they separated. Despite his separation and

 eventual divorce, Puglisi was involved as a father, often working two jobs to

 support his family. In 2006, Puglisi relocated to Palm Harbor, Florida with his

                                          11
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 12 of 25 PageID 124




 second wife, Ida Puglisi. After separating from Ida, he met Donna McCoy who he

 eventually lived with until the discovery of this offense.

       Puglisi has maintained steady employment through his adult life. In July of

 2006, Puglisi gained employment with UMSA in their Finance and Accounting

 Department. Prior to working at UMSA, Puglisi worked in a similar capacity at

 Centra State Medical Center in New Jersey. (PSIR ¶ 74) Prior to the offense,

 Puglisi was a model employee who was respected and liked by coworkers,

 supervisors, and staff. While at UMSA, Puglisi who was on a promotion track,

 received bonuses, and recognition for his hard. According to his supervisors,

 Puglisi was very knowledgeable in his position, produced an excellent quality of

 work, and was customer service oriented, maintaining a great relationship with

 individuals in and outside of the organization. Puglisi was described in reviews as

 a “great leader”, the “go to person” for questions, and an “effective problem

 solver”. (PSIR ¶ 71).

       After being terminated by USF, Puglisi sought employment wherever he

 could find it. Although it was not easy based on this conviction, he managed to

 gain employment and remains currently employed. Having hit “rock bottom”,

 losing his six-figure job with UMSA, being a convicted felon, and facing the

 shame of a very public criminal case, Puglisi gained employment at a Dollar

 General making $10 per hour. Recently Puglisi was hired at a Walmart as a front-

 end employee making $2,080 each month. Of the roughly $2,000/ month that he

 brings home, Puglisi set aside $1,000 which was paid toward restitution prior to

                                           12
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 13 of 25 PageID 125




 sentencing. If given the opportunity, he will continue to work to make monthly

 restitution payments.

       Despite the external appearance that his life was under control, internally,

 Puglisi was dealing with mental illness that resulted in a downward spiral.

 Puglisi’s mental illness, which was caused in part from his abuse as a child, was

 exasperated by a traumatic brain injury he suffered as a result of an automobile

 accident in the 1990’s. The TBI suffered by Puglisi had a direct effect on his

 mood, perceptions, processing, decision making, impulse control, and behavior.

 After learning of the investigation, Donna McCoy, Puglisi’s family, and her family

 abandoned him. Having lost his family, job, and facing the loss of his freedom,

 Puglisi unsuccessfully attempted suicide. After his release from a “Baker Act”,

 Puglisi engaged in a new regiment of treatment which included psychological

 counseling and medication. (PSIR ¶ 62) Puglisi has vowed to make the best of his

 life, continue in his treatment, work toward paying restitution, caring for his

 mother, and being a productive member of society. According to Dr. McClain,

 Puglisi has been stabilized in his treatment, which he will continue to engage in.

      Prior to his guilty plea, Puglisi moved into the home of his mother, Assunta

 Puglisi, becoming her primary caregiver. Puglisi’s mother moved to Florida

 approximately 15 years ago after falling and breaking her hip. Due to her serious

 and deteriorating medical condition which resulted in her being placed in hospice

 care in the past, Puglisi is her primary caregiver. As her primary caregiver, Puglisi

 is responsible for providing his mother with her daily needs such as bathing,

                                          13
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 14 of 25 PageID 126




 cooking, cleaning, and hygiene. Puglisi has a close relationship with his mother,

 who despite his conduct supports him. Puglisi’s elderly mother would be

 collaterally affected by his incarceration and would most likely not survive to see

 him released. (Exhibit E)

      In the time that has passed since the inception of the investigation, Puglisi

 has been a model citizen and releasee. Since entering his guilty plea on August

 26, 2021, Puglisi has been confined on “home detention”. He has had no new law

 violations, achieved gainful employment, and continued to pay restitution. He

 has managed his mental health through treatment including medication,

 counseling, and hyperbaric therapy. He accepted responsibility, entered a guilty

 plea to an Information, and paid an exorbitant amount of restitution. Puglisi has

 engaged in his best efforts to cooperate with the Government and USF in their

 Civil Litigation related to this offense. His compliance with the conditions of

 release, his history and character, the regulation of his mental health, his positive

 adjustment while on pretrial service and his desire, willingness, and ability to pay

 restitution should be considered when fashioning an appropriate sentence. (PSIR

 ¶ 95). see, e.g., United States v. Huckins, 529 F.3d 1312 (10th Cir. 2008)

 (affirming downward variance in possession of child pornography case based on

 defendant’s lack of significant criminal history, depression at the time of the

 offense, lack of repeat offending by the defendant after his arrest, significant self-

 improvement efforts during while he waited to be prosecuted).



                                           14
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 15 of 25 PageID 127




       B. The Need for the sentence imposed § 3553(a):

           1. The need to reflect the seriousness of the offense promote respect for

              the law and provide a just punishment § 3553(a)(2)(A)

       A sentence below the Guideline range would effectively reflect the

 seriousness of the offense, promote respect for the law, and provide just

 punishment. The purposes of § 3553 (a)(2)(A) are referred to as "retribution"

 which is generally assessed according to two elements: the nature and

 seriousness of the crime caused or harm threatened, and the defendant's degree

 in culpability in committing the crime. Richard S. Frase, Excessive Prison

 Sentences, Punishment Goals and the Eighth Amendment: "Proportionality"

 Relative to What", 89 Minn. L. Rev. 571, 590 (February 2005). Thus, the

 seriousness of the offense may be lessened if the crime was non-violent. see 28

 U.S.C. § 994 (j). In Puglisi’s case, the seriousness of his offense is mitigated by his

 cooperation with the Government and USF directly, lack of prior offenses, and

 payment of restitution. The seriousness of the offense should also be mitigated

 considering his willingness and actual payment of restitution versus the other

 individuals and corporations that refuse to pay restitution.

       The consequences that Puglisi has suffered provide for a just punishment

 for his criminal activity and as such any extended period of incarceration would

 amount to a punishment beyond what is just. Puglisi has suffered the loss of his

 employment, his professional reputation, his family, and many of his civil rights.

 Puglisi understands that for the rest of his life, he will be indebted to USF. Any

                                           15
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 16 of 25 PageID 128




 money that he would ever make will go to pay restitution to USF. Knowing that

 he is working solely to support his minimalist lifestyle and pay restitution to USF

 is a punishment. These collateral consequences suffered by Puglisi would justify a

 downward departure or variance. see, e.g., United States v. Gaind, 829 F. Supp.

 669, 671 (S.D.N.Y. 1993); United States v.Vigil, 476 F. Supp. 2d 1231, 1235

 (D.N.M. 2007) (finding variance appropriate where defendant was collaterally

 punished by loss of his position and reputation, widespread media coverage, and

 emotional toll of two lengthy public trials); United States v. Samaras, 390 F.

 Supp. 2d 805, 809 (E.D. Wis. 2005)

          2. The need to afford for adequate deterrence and to protect the public

             § 3553(a)(2)(B-C)

       Ralph Puglisi is a first-time offender, convicted of a non-violent offense. A

 Court may vary downward based on his low risk of recidivism. United States v.

 Ross, 557 F. 3d 237 (5th Cir, 2009). There is no empirical evidence that suggests

 sentence length has a deterrent effect on future crime. Michael Tonry, Purposes

 and Functions of Sentencing, 34 Crime and Justice: A Review of Research 28-29

 (2006). The Sentencing Commission has found that there is no correlation

 between recidivism and Guideline offense levels; thus, an offender with a low

 guideline range and one with a high guideline range would have the same rate of

 recidivism. US Sentencing Commission, Measuring Recidivism: The Criminal

 Computation of the Federal Sentencing Guidelines, at 15 (May 2004). In fact,

 the offender with the lowest rate of recidivism is one who receives probation and

                                         16
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 17 of 25 PageID 129




 fines only. Id. at 13., see also US Sentencing Commission, Recidivism Among

 Federal Offenders: A Comprehensive Overview, at 22 (March 2016).

       Ralph Puglisi has an extraordinarily low statistical likelihood of recidivism.

 Generally, Defendants convicted of Fraud have a low statistical likelihood of

 reoffending (4.9%). Id. at 17. As a first-time non-violent offender, like Puglisi,

 they have the lowest likelihood of all classes of Federal Defendants to re-offend.

 US Sentencing Commission, Measuring Recidivism: The Criminal Computation

 of the Federal Sentencing Guidelines, at 13 (May 2004). When including all of

 the factors, such as his education, age, no history of drug use, and lifelong

 employment, he shows an even lower probability of re-offending. Id. As such, the

 Court would be justified in granting a downward variance especially when

 considering his charge, criminal history, and the fact that defendants sentenced

 to probation as opposed to prison reoffend the least. see e.g. United States v.

 Darway, 255 Fed. Appx. 68, 73 (6th Cir. 2007); United States v. Hamilton, 323

 Fed. Appx. 27, 31 (2d Cir. 2009); United States v. Holt, 486 F.3d 997, 1004 (7th

 Cir. 2007). When considering the Commission’s reports on recidivism, the nature

 of this nonviolent offense, his payment of restitution, and the cooperation he

 offered, it is extremely unlikely that he will commit any future crimes. Therefore,

 the public is protected from the Defendant. As such, no term of imprisonment is

 necessary to prevent Puglisi from committing any crimes in the future.

          3. The need for medical treatment is the "Most Effective Manner" §

              3553(a)(2)(D)

                                           17
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 18 of 25 PageID 130




       The sentence imposed must ensure that "needed...medical care is provided

 in the most effective manner". 18 U.S.C. § 3553(a)(2)(D). The sentencing

 commission recognizes that physical condition may be relevant when

 determining if a departure is warranted. USSG § 5H1.4 p.s. Courts have

 considered various circumstances in which a departure was warranted based on a

 physical or medical condition. see e.g. U.S. v. Alemenas, 553 F.3d 27 (1st Cir.

 2009): U.S. v. Kemph, 2009 WL 667413 (4th Cir. March 13, 2009); U.S. v.

 Duhon, 541 F.3d 391 (5th Cir. 2008); U.S. v. Martin, 363 F. 3d 25 (1st Cir. 2004).

 Ralph Puglisi’s age and physical condition justify a departure for variance. see

 USSG § 5H1.1 (Age may be a reason to depart downward in a case in which the

 defendant is elderly and infirm and where a form of punishment such as home

 confinement might be equally efficient as and less costly than incarceration);

 USSG § 5H1.4 (Physical condition . . .may be relevant in determining whether a

 departure is warranted if the condition . . . is present to an unusual degree and

 distinguishes the case from the typical cases covered by the guidelines.). Here,

 Puglisi’s age and physical condition disproportionately increases the impact of

 incarceration.

       Ralph Puglisi is 60 years old with several health conditions. Puglisi is at an

 age where his medical conditions will invariably get worse. U.S. v. Willis, 322 F.

 Supp. 2d 76 at 84 (D. Mass 2004). Only 3.1% of federal offenders are over 60

 years old and Mr. Puglisi is in that age range. U.S. Sentencing Comm., 2018

 Annual Report and Sourcebook of Federal Sentencing Statistics. Even less

                                          18
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 19 of 25 PageID 131




 offenders are like Puglisi, a 60-year-old with compound chronic health

 conditions. Puglisi’s age and medical conditions put him far outside of “the

 typical cases covered by the guidelines.” USSG § 5H1.4; United States v. Chase,

 560 F.3d 828, 830–31 (8th Cir. 2009). The Commission has recognized the

 advisability of revising the guidelines to take age and first offender status into

 account, which has determined that age “may be relevant” in granting a

 departure. USSG § 5H1.1, p.s. The fact that Puglisi is elderly and infirm indicates

 the existence of alternatives to long term confinement that would still meet the

 goals of sentencing.

       Puglisi suffers from many physical conditions in which he requires

 specialized treatment. As mentioned above, in the 1990’s, Puglisi was involved in

 a serious automobile accident that resulted in a Traumatic Brain Injury (TBI).

 This TBI effected Puglisi physically and mentally. To treat the TBI, Puglisi is a

 patient with the AMEN Clinic in Atlanta, Georgia. Brain scans reveal that he

 suffers from significant injuries to multiple parts of his brain. This brain injury

 directly affects Puglisi’s cognitive ability, behavior, and overall mental health.

 Treatment for the TBI includes a regiment of medication, interval training,

 cognitive behavioral therapy, and hyperbaric chamber therapy. In September of

 2021, Puglisi was reevaluated by the AMEN clinic who recommended that he

 complete twenty additional hours hyperbaric therapy. (PSIR ¶ 59) The treatment

 for his TBI is costly, complex, and not offered by the BOP. Puglisi also has

 multiple physical conditions, which require specialized treatment. Puglisi suffers

                                           19
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 20 of 25 PageID 132




 from osteoarthritis in his spine, knees, and hands as well as a degenerative spine.

 He has undergone several knee surgeries and two hip surgeries. He also suffers

 from Hammer Toe, Bilateral Metatarsalgia, and callous feet. These disorders

 require constant medical attention and eventually surgical intervention. He sees a

 podiatrist once every six weeks to treat his foot disorders. Without this treatment,

 Puglisi would be unable to walk. (PSIR ¶ 58)

       Puglisi has been diagnosed with multiple mental illnesses including

 anxiety, depression, major depressive disorder, panic attacks, mood instability,

 major depressive disorder, ADHD, PTSD, Neurocognitive Disorder, and bipolar

 disorder. (PSIR ¶¶ 62-64) As a result of these many issues, Puglisi suffers from

 weight loss, insomnia, panic attacks, anxiety, mood instability, and depression.

 He has been receiving treatment under the care of Sharon Krieger for these

 mental health disorders, which includes therapy and medication. (PSIR ¶ 62) He

 is currently prescribed multiple narcotic and non-narcotic medications. (PSIR ¶

 62) Many of these medications and mental health services are not offered in the

 BOP. Puglisi is dependent on these medications, and it is essential that he

 continues to receive them to maintain his mental stability.

       Continued care including therapy and medication is needed to treat

 Puglisi’s physical and mental deficiency and provide stability to his mental

 health. According to Dr. McClain, Puglisi’s chronic mental health issues and

 cognitive defects present challenges to his ability to maintain emotional function

 and stability. He would benefit from continued mental health services including

                                         20
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 21 of 25 PageID 133




 medication management and counseling to address these issues, provide coping

 skills, and decrease his depression and anxiety. Many of these services and

 medications are not offered by the BOP. Since being placed on this regiment,

 Puglisi has stabilized and been a productive member of society. His conditions,

 amenability to treatment, continued treatment, and remorse for his actions are

 evidence that a sentence that provides for physical and mental treatment is the

 “most effective means”.

           4. The Need to Provide Restitution, §3553 (a) (7)

       The extraordinary amount of restitution paid by Ralph Puglisi prior to

 sentencing and the need to pay additional restitution to the victims provides the

 Court with a basis for a downward variance. 18 U.S.C. § 3553(a)(7). States v.

 McBride, 434 F.3d 470, 476 (6th Cir. 2006) United States v. Mickelson, 433 F.3d

 1050, 1055 (8th Cir. 2006); see also, e.g., U.S. v. Menyweather, 447 F.3d 625,

 634 (9th Cir. 2006). Federal restitution is rarely collected prior to sentencing,

 especially in the amount already collected in this case. see United States

 Government Accountability Office, Federal Criminal Restitution, Most Debt Is

 Outstanding and Oversight of Collections Could Be Improved (2018). Given these

 facts, Puglisi’s repayment of restitution significantly differs from a large

 percentage of cases and is extraordinary. It is highly unusual for such a large debt

 to be recovered in a truly short amount of time. His voluntary payment of a

 substantial amount of money prior to sentencing is exceptional.



                                           21
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 22 of 25 PageID 134




       In United States v. Kim, 364 F.3d 1235 (11th Cir. 2004), a husband and

 wife who participated in a scheme to defraud a federal food stamp program

 liquidated assets and took on a tremendous amount of debt to repay restitution

 prior to sentencing. Id. at 1239-40, 1244. Granting a substantial downward

 variance, the District Court sentenced the Defendants to probation with home

 confinement due in part to their extraordinary efforts to pay restitution. Id. at

 1239. In affirming the District Court’s variance, the Eleventh Circuit held that the

 courts may consider “extraordinary restitution as a basis for downwardly

 departing from the sentencing guideline”. Id. at 1242. Although the Eleventh

 Circuit declined to create bright line rule, it found that “courts have looked to a

 wide range of factors, such as the degree of voluntariness, the efforts to which a

 defendant went to make restitution, the percentage of funds restored, the timing

 of the restitution, and whether the defendant’s motive demonstrates sincere

 remorse and acceptance of responsibility.” Id. at 1244.

       Puglisi undertook a great effort to raise the funds to pay restitution

 including the sale of his home, the sale of his personal belongings and

 memorabilia, the liquidation of his investment accounts, the sale of his car, and

 the liquidation of all his bank accounts. To date, Ralph Puglisi has repaid

 restitution to UMSA, the University of South Florida’s University Medical

 Services, in the amount $1,212,626.29, turned over his interests in a property in

 the Virgin Islands valued at approximately $400,000, and made an additional

 payment in excess of $20,000 from money he earned while working after his

                                          22
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 23 of 25 PageID 135




 plea. When applying the analysis and factors in Kim, the circumstances here

 weigh in favor of variance. Specifically, Puglisi voluntarily paid restitution before

 sentencing without any promise, requirement, or benefit with “no assurance” that

 his restitution efforts will be rewarded by the District Court at sentencing. Id. at

 1245–46.

       Ralph Puglisi requests that this Honorable Court to take into consideration

 the restitution he paid in light of how much he actually received. The total loss to

 the victim in this case is approximately $12,860,000. According to their internal

 audit, USF calculates that the payments made to Mygirlfund.com totaled

 $11,487,433. Of the over $11 million paid, the website took on average

 approximately 20% ($2,297,486) “off the top” with the webcam performers

 taking approximately 80% ($9,189,946). see University of South Florida

 Investigative Report, April 9, 2021, page 7. As such, it appears that MGF profited

 more from the scheme than Ralph Puglisi did. MGF, who was a conduit for most

 of the fraud, did nothing to stop Puglisi from charging almost $11.5 million to an

 UMSA credit card. In fact, the money paid to MGF by Puglisi accounted for more

 than 80% of all MGF profits for the time period. Despite knowing the nature of

 the case, being subject to a civil suit, and arguably acting “willfully blind” to the

 source of the funds, MGF has not accepted responsibility and has not paid any

 money back to USF.

       Of the webcam performers, Stephanie Sahler profited the most, taking over

 approximately $6,000,000 (Puglisi concedes that she sent him approximately

                                           23
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 24 of 25 PageID 136




 $200,000). Through his cooperation, Puglisi made efforts to contact Sahler to

 return the money that she took; however, unlike Puglisi, she refused to pay USF.

 Included in the amount paid to Mygirlfund.com is the amount paid to Fran

 Roman of which she took $1.3 million dollars (after MGF took their portion,

 Roman.) Unlike Puglisi, Roman, who laundered money from USF and directly

 profited from the scheme, refused to pay back the money that she took, knowing

 the nature of this case and investigation.

       Despite all of those who benefited from the scheme, Puglisi is the only one

 who has accepted responsibility and paid any money back. When considering the

 $1,232,626.29 paid in restitution and the value of the property currently being

 sold by the Government, Puglisi has personally paid back almost all that he

 received. In order to repay as much as possible, he sold his house, vehicles,

 liquidated every asset, sold memorabilia, moved in with his mother and brother,

 and works the best job that he could find given the circumstances to continue to

 pay restitution. Ralph Puglisi acknowledges that what he did was wrong and has

 made steps to pay back the victims. Although he has paid back much of which he

 received, Puglisi knows that he will be required to pay restitution until USF is

 made whole. When considering the phrase “extraordinary,” “there is no

 requirement that the circumstances be extra-ordinary by any particular degree of

 magnitude.” United States v. Dominguez, 296 F.3d 192, 195 (3d Cir. 2002).

 Rather, the court must simply identify facts that make this case different from the

 usual case. United States v. Norton, 218 F. Supp. 2d 1014, 1019 (E.D. Wis. 2002).

                                          24
Case 8:21-cr-00269-WFJ-MRM Document 37 Filed 09/20/22 Page 25 of 25 PageID 137




 Puglisi is the rare Defendant, who has demonstrated extraordinary remorse and

 acceptance of responsibility, by making extraordinary restitution payments. Kim,

 364 F.3d at 1245.

       IV.   CONCLUSION

       The Defendant, Ralph Puglisi, respectfully requests that the Court grant

 the Defendant’s Motion for a Downward Variance. Puglisi is a non-violent first-

 time offender with multiple medical conditions. He demonstrated a positive

 adjustment on release and has a low likelihood of reoffending. He cooperated

 with the Government and the victim and paid an extraordinary amount of

 restitution. As such, a downward variance as requested would be sufficient, but

 not greater than necessary to achieve the goals of 18 USC § 3553(a).

                                Respectfully Submitted,

                                /s/ Anthony B. Rickman
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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk

 of Court by using CM/ECF System which will send a Notice of Electronic Filing to

 Jay G. Trezevant, Assistant United States Attorney, 400 North Tampa Street,

 Suite 2100, Tampa Florida

                                         25
